                                                           Case 21-14486-abl        Doc 243    Entered 08/22/22 10:16:39     Page 1 of 4



                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                           FOR THE DISTRICT OF NEVADA
                                                      10

                                                      11   In re:                                           Case No.: 21-14486-abl
                                                                                                            Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12   INFINITY CAPITAL MANAGEMENT, INC.
                                                           dba INFINITY HEALTH CONNECTIONS,
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                          Debtor.
                                                      14

                                                      15   NOTICE OF HEARING ON JOINT MOTION TO ENFORCE COURT ORDERS AND
                                                           REQUIRE PREVA ADVANCED SURGICARE – THE WOODLANDS LLC TO REMIT
                                                      16             PAYMENTS RELATING TO ACCOUNTS RECEIVABLE
                                                      17            NOTICE IS HEREBY GIVEN THAT the Joint Motion to Enforce Court Orders and
                                                      18   Require Preva Advanced Surgicare – The Woodlands LLC to Remit Payments Relating to Accounts
                                                      19   Receivable [ECF No. 241] (the “Joint Motion”) filed jointly by HASelect-Medical Receivables
                                                      20   Litigation Finance Fund International SP (“HASelect”) and Tecumseh–Infinity Medical
                                                      21   Receivable Fund, LP, (“Tecumseh”) on August 18, 2022 seeks to enforce previously entered
                                                      22   orders of this Court against third-party Preva Advanced Surgicare – The Woodlands LLC.
                                                      23            NOTICE IS FURTHER GIVEN that a hearing on the Joint Motion will be held before a
                                                      24   United States Bankruptcy Court Judge on October 3, 2022 at 9:30 a.m. at the U.S. Bankruptcy
                                                      25   Court for the District of Nevada in the Foley Federal Building, 300 Las Vegas Blvd. South, Las
                                                      26   Vegas, Nevada 89101. Dial-in information can be located on the U.S. Bankruptcy Court for the
                                                      27   District of Nevada’s website.
                                                      28            NOTICE IS FURTHER GIVEN that any opposition to the Joint Motion and the relief


                                                                                                     Page 1 of 4
                                                           Case 21-14486-abl       Doc 243     Entered 08/22/22 10:16:39        Page 2 of 4



                                                       1
                                                           requested therein must be filed and served in accordance with Local Rule 9014(d)(1), which
                                                       2
                                                           provides:
                                                       3

                                                       4       If you object to the relief requested, you must file a WRITTEN response to this pleading
                                                       5       with the court. You must also serve your written response on the person who sent you this
                                                       6
                                                               notice.
                                                       7
                                                               If you do not file a written response with the court, or if you do not serve your written
                                                       8
                                                               response on the person who sent you this notice, then:
                                                       9

                                                      10           • The court may refuse to allow you to speak at the scheduled hearing; and

                                                      11           • The court may rule against you without formally calling the matter at the hearing.
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13          PLEASE TAKE FURTHER NOTICE that the hearing on the Joint Motion may be
                        (702) 471-7432




                                                      14   continued from time to time without further notice except for the announcement of any adjourned

                                                      15   dates and times at the above-noticed hearing or any adjournment thereof, and the court may

                                                      16   approve modifications at the hearing or any continued hearing.

                                                      17          DATED this 22nd day of August 2022.
                                                                                                               SHEA LARSEN
                                                      18

                                                      19                                                       /s/ Bart K. Larsen, Esq.
                                                                                                               Bart K. Larsen, Esq.
                                                      20                                                       Kyle M. Wyant, Esq.
                                                                                                               1731 Village Center Circle, Suite 150
                                                      21                                                       Las Vegas, Nevada 89134
                                                      22                                                       Attorneys for HASelect-Medical Receivables
                                                                                                               Litigation Finance Fund International SP
                                                      23

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                                                                                                      Page 2 of 4
                                                           Case 21-14486-abl        Doc 243   Entered 08/22/22 10:16:39        Page 3 of 4



                                                       1                                   CERTIFICATE OF SERVICE

                                                       2        1.    On August 22, 2022, I served the following document(s): NOTICE OF
                                                                      HEARING ON JOINT MOTION TO ENFORCE COURT ORDERS AND
                                                       3              REQUIRE PREVA ADVANCED SURGICARE – THE WOODLANDS, LLC
                                                                      TO REMIT PAYMENTS RELATING TO ACCOUNTS RECEIVABLE
                                                       4
                                                                2.    I served the above document(s) by the following means to the persons as listed
                                                       5              below:

                                                       6              ☒        a.       ECF System:

                                                       7        ROBERT E. ATKINSON
                                                                Robert@ch7.vegas, TrusteeECF@ch7.vegas;ecf.alert+atkinson@titlexi.com
                                                       8
                                                                CLARISSE L. CRISOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                       9        clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com

                                                      10        BRADFORD IRELAN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS,
                                                                LLC
                                                      11        birelan@imtexaslaw.com,
                                                                jstephens@imtexaslaw.com;dhall@imtexaslaw.com;ynguyen@imtexaslaw.com
              1731 Village Center Circle, Suite 150




                                                      12
                                                                DAVID MINCIN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS, LLC
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13        dmincin@mincinlaw.com, cburke@mincinlaw.com
                        (702) 471-7432




                                                      14        MICHAEL D. NAPOLI on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                                RECEIVABLES FUND, LP
                                                      15        michael.napoli@akerman.com,
                                                                cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;masterdocketlit@ake
                                                      16        rman.com

                                                      17        TRENT L. RICHARDS on behalf of Creditor THE INJURY SPECIALISTS
                                                                trichards@sagebrushlawyers.com
                                                      18
                                                                ARIEL E. STERN on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                      19        RECEIVABLES FUND, LP
                                                                ariel.stern@akerman.com, akermanlas@akerman.com
                                                      20
                                                                U.S. TRUSTEE - LV - 7
                                                      21        USTPRegion17.LV.ECF@usdoj.gov

                                                      22        MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                                INC.
                                                      23        mzirzow@lzlawnv.com,
                                                                carey@lzlawnv.com;trish@lzlawnv.com;jennifer@lzlawnv.com;zirzow.matthewc.r99681
                                                      24        @notify.bestcase.com

                                                      25              ☒        b.       United States mail, postage fully prepaid:

                                                      26        Preva Advanced SurgiCare – The Woodlands, LLC
                                                                26710 I-45 N. Freeway, Suite B-100
                                                      27        Spring, Texas 77386

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                                                                                                      Page 3 of 4
                                                           Case 21-14486-abl        Doc 243   Entered 08/22/22 10:16:39         Page 4 of 4



                                                       1
                                                                Preva Advanced SurgiCare – The Woodlands, LLC
                                                       2        c/o Hugh Shannonhouse
                                                                2702 Andrew Springs Lane
                                                       3        Spring, Texas 77386

                                                       4        Preva Advanced SurgiCare – The Woodlands, LLC
                                                                c/o Registered Agent Solutions, Inc.
                                                       5        5301 Southwest Parkway, Suite 400
                                                                Austin, Texas 78735
                                                       6
                                                                       ☐       c.       Personal Service:
                                                       7
                                                                       I personally delivered the document(s) to the persons at these addresses:
                                                       8
                                                                                       ☐       For a party represented by an attorney, delivery was made by
                                                       9               handing the document(s) at the attorney’s office with a clerk or other person in
                                                                       charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                      10               in the office.

                                                      11                               ☐       For a party, delivery was made by handling the document(s)
                                                                       to the party or by leaving the document(s) at the person’s dwelling house or usual
              1731 Village Center Circle, Suite 150




                                                      12               place of abode with someone of suitable age and discretion residing there.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13               ☐       d.      By direct email (as opposed to through the ECF System):
                        (702) 471-7432




                                                                       Based upon the written agreement of the parties to accept service by email or a
                                                      14               court order, I caused the document(s) to be sent to the persons at the email
                                                                       addresses listed below. I did not receive, within a reasonable time after the
                                                      15               transmission, any electronic message or other indication that the transmission was
                                                                       unsuccessful.
                                                      16
                                                                       ☐       e.       By fax transmission:
                                                      17
                                                                       Based upon the written agreement of the parties to accept service by fax
                                                      18               transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                       numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      19               of the record of the fax transmission is attached.

                                                      20               ☐       f.       By messenger:

                                                      21               I served the document(s) by placing them in an envelope or package addressed to
                                                                       the persons at the addresses listed below and providing them to a messenger for
                                                      22               service.

                                                      23        I declare under penalty of perjury that the foregoing is true and correct.

                                                      24        Dated: August 22nd, 2022.
                                                                                                        By: /s/ Bart K. Larsen, Esq.
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